Case 5:09-cr-04045-LTS-KEM   Document 372   Filed 05/28/10   Page 1 of 6
Case 5:09-cr-04045-LTS-KEM   Document 372   Filed 05/28/10   Page 2 of 6
Case 5:09-cr-04045-LTS-KEM   Document 372   Filed 05/28/10   Page 3 of 6
Case 5:09-cr-04045-LTS-KEM   Document 372   Filed 05/28/10   Page 4 of 6
Case 5:09-cr-04045-LTS-KEM   Document 372   Filed 05/28/10   Page 5 of 6
Case 5:09-cr-04045-LTS-KEM   Document 372   Filed 05/28/10   Page 6 of 6
